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                                      EXHIBIT A

    (Detailed Description, by Project Category, of Services Rendered During Fee Period)




160877998v2
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                                                                            Murphy & King, Professional Corporation
                                                                    Detailed Statement of Fees Incurred, by Project Category
                                                                              For the Period from 5/5/23 - 6/30/23
                                                        Billed
Matter                Date     Employee Hours Task Code Amount       Narrative

Case Administration
                      5/10/2023 ECJ        2.5 B110         $600.00 Conduct search and order relevant CTS records re: articles of incorporation; certificates of good standing; and foreign entity certificates
                      5/10/2023 HBM        0.3 B110         $220.50 Telephone call with John Kuzinevich re: ordinary course professionals
                      5/11/2023 ECJ        1.5 B110         $360.00 Continue to coordinate and review CTS foreign entity certificates
                      5/11/2023 KRC          1 B110         $625.00 Statement of Financial Affairs/Schedules call with CSS, Troutman and client
                      5/11/2023 LAO        1.2 B110         $390.00 Call with KCC/Troutman - schedules and SOFA
                      5/11/2023 HBM        0.5 B110         $367.50 Telephone call with utilities re: issues and emails
                      5/11/2023 CMC        0.9 B110         $526.50 Work on issues re schedules
                      5/12/2023 HBM        1.2 B110         $882.00 Several telephone calls with co-counsel and parties in interest re: case status and issues
                      5/15/2023 ECJ          1 B110         $240.00 Check status on ordered documents for Delaware entities and MA Certificates of Good Standing
                      5/15/2023 HBM        0.8 B110         $588.00 Multiple emails re: case status; telephone calls re: same
                                                                    Telephone call with J. Wolf re: lease issues and status; email re: same; telephone call with Kt Ellis re: same; BBBY issues; conference with C. Condon
                      5/15/2023 HBM        1.4 B110       $1,029.00 re: same
                      5/15/2023 LAO        0.6 B110         $195.00 Telephone conference with CMC re: open item call; telephone conference with team re: open items
                      5/15/2023 CMC        1.2 B110         $702.00 Call re status and open issues
                      5/16/2023 CMC        1.1 B110         $643.50 Prepare for and participate in call with UST re committee issues
                      5/17/2023 HBM        0.3 B110         $220.50 Telephone call with Attorney for Salkowitz re: case status
                      5/17/2023 CMC        0.9 B110         $526.50 Compile/review documents for initial debtor interview
                      5/18/2023 LAO        2.4 B110         $780.00 Responding to various requests/open items; schedules check in call
                      5/22/2023 HBM          1 B110         $735.00 Telephone call with co-counsel re: coordination, dates, to do list, etc.; email re: same
                      5/22/2023 LAO        1.2 B110         $390.00 Status call with team; schedules call
                      5/22/2023 LAO        3.4 B110       $1,105.00 Responding to various requests; organizing first day orders
                      5/22/2023 CMC        0.9 B110         $526.50 Call with client re outstanding issues
                      5/23/2023 ECJ        0.5 B110         $120.00 Receive and review CTS MA Certificate of Good Standing
                      5/23/2023 HBM        1.2 B110         $882.00 Review the issues re: final First Day Order; multiple emails re: same; conference with L. O'Farrell re: same
                      5/23/2023 LAO        0.8 B110         $260.00 Meeting with client and HBM
                      5/24/2023 LAO        1.9 B110         $617.50 Drafting Global notes re: schedule
                      5/24/2023 LAO        0.5 B110         $162.50 Schedules call with company and KRC
                      5/25/2023 LAO        1.2 B110         $390.00 Drafting Global Notes
                      5/25/2023 KRC        0.6 B110         $375.00 Schedules/SOFA page turn call
                      5/25/2023 KRC        0.5 B110         $312.50 Review Global Notes, revise; circulate to schedule/SOFA team
                      5/26/2023 LAO        0.3 B110          $97.50 Telephone conference re: Global Notes
                      5/26/2023 KRC        0.8 B110         $500.00 Telephone conference on schedules/SOFA
                      5/26/2023 KRC        1.7 B110       $1,062.50 Revise Global Notes; prepare for call on specific Global Notes; Global Notes call with client
                      5/26/2023 KRC          1 B110         $625.00 Continue to work on Global Notes
                      5/26/2023 CMC        1.2 B110         $702.00 Further prep for 5/31 hearings; review objections; emails re same
                      5/26/2023 CMC        0.9 B110         $526.50 Update agenda for hearing
                      5/26/2023 CMC        0.7 B110         $409.50 Work on schedules
                       6/6/2023 LAO        0.5 B110         $162.50 CTS team meeting re: open items
                       6/7/2023 LAO        0.9 B110         $292.50 Telephone conferences with team
                       6/8/2023 LAO        0.4 B110         $130.00 Telephone conference with team
                      6/12/2023 CMC        0.4 B110         $234.00 Review proposed agenda
                      6/14/2023 LAO        1.5 B110         $487.50 Returning calls; attention to emails
                      6/20/2023 LAO        0.6 B110         $195.00 Team meeting re: open items
                      6/21/2023 CMC        0.9 B110         $526.50 Address issues re monthly operating reports
                      6/24/2023 CMC        0.4 B110         $234.00 Memorandum re call with lenders
                      6/26/2023 LAO        0.2 B110          $65.00 Meeting with HBM & CMC re: outstanding issues
                      6/29/2023 LAO        0.2 B110          $65.00 Planning meeting with CMC and HBM



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                                                                                          Murphy & King, Professional Corporation
                                                                                  Detailed Statement of Fees Incurred, by Project Category
                                                                                            For the Period from 5/5/23 - 6/30/23
                                                                    Billed
Matter                          Date       Employee Hours Task Code Amount        Narrative
Total:                                                45.1           $21,087.00

Asset Disposition
                                  6/1/2023 HBM         0.8 B130         $588.00 Conference call with SSG re: case status, marketing strategy and issues
                                 6/14/2023 HBM         1.2 B130         $882.00 Attend status call with SSG; email re: same
                                 6/14/2023 HBM         0.2 B130         $147.00 Emails re: SSG
                                 6/14/2023 CMC         1.2 B130         $702.00 Participate in call with SSG re sale/investor solicitation
                                 6/15/2023 CMC         0.7 B130         $409.50 Work on potential sale motion
                                 6/16/2023 HBM         0.4 B130         $294.00 Telephone call with potential lease consultant; email to client re: same
                                 6/21/2023 KRC         0.8 B130         $500.00 Call with H. Murphy, M. Salkovitz, Pan S, Theresa and Scott from SSG and M. Kaufman re: 363
                                 6/21/2023 KRC         0.3 B130         $187.50 Summary email to C. Condon and L. O'Farrell with timeline of 363 sale
                                 6/21/2023 CMC         1.2 B130         $702.00 Research re sale issues
                                 6/21/2023 CMC         0.7 B130         $409.50 Work on Pathlight issues; review documents re term loans
                                 6/21/2023 LAO         3.1 B130       $1,007.50 Attention to open matters; reviewing sample bid procedure motions; meeting with CMC & HBM re: status of case
                                 6/22/2023 HBM         0.3 B130         $220.50 Telephone call with client re: landlord issue
                                 6/22/2023 CMC         1.5 B130         $877.50 Review pleadings re sales; confer with SSG re: same
                                 6/22/2023 CMC         0.5 B130         $292.50 Multiple calls with landlords re leases; emails re same
                                 6/22/2023 CMC         0.3 B130         $175.50 Calls with SSG re potential investment/sale
                                 6/22/2023 CMC         0.7 B130         $409.50 Further work on landlord issues re: sale
                                 6/22/2023 CMC         1.6 B130         $936.00 Work on sale pleadings
                                 6/23/2023 CMC           2 B130       $1,170.00 Draft/revise bid procedure/sale pleadings
                                 6/23/2023 CMC         1.3 B130         $760.50 Further work on sale pleadings
                                 6/25/2023 LAO         0.6 B130         $195.00 Call with lenders and SSG
                                 6/26/2023 LAO         4.1 B130       $1,332.50 Draft exhibits to sale motion
                                 6/26/2023 CMC         0.6 B130         $351.00 Conference with DE counsel re DIP issues and sale
                                 6/26/2023 CMC         0.7 B130         $409.50 Conferences with client re DIP and sale
                                 6/26/2023 CMC         2.3 B130       $1,345.50 Draft/revise bid procedures/sale motion
                                 6/26/2023 CMC         1.8 B130       $1,053.00 Amend/revise bid procedures motion
                                 6/26/2023 CMC         0.6 B130         $351.00 Call with client re sale/bid procedures
                                 6/27/2023 HBM         0.7 B130         $514.50 Review draft motion to approve bidding procedures/sale; conference with C. Condon re: revisions and additions re: same
                                 6/27/2023 HBM         2.5 B130       $1,837.50 Review and revise draft motion to approve bidding procedures sale; conference with C. Condon re: revisions and additions re: same
                                 6/27/2023 LAO         1.5 B130         $487.50 Implementing edits to Sale Motion and exhibits
                                 6/27/2023 HBM           2 B130       $1,470.00 Work on sale
                                 6/27/2023 HBM         2.4 B130       $1,764.00 Extended telephone conference with Debtors professionals re: sale
                                 6/27/2023 CMC         2.3 B130       $1,345.50 Draft/revise bid procedures/sale motion
                                 6/27/2023 CMC         1.5 B130         $877.50 Further work amend/revise bid procedures motion
                                 6/28/2023 LAO         0.4 B130         $130.00 Implementing bid procedures edits
                                 6/28/2023 LAO         0.4 B130         $130.00 Discussion with CMC re: liquidator/store closing
                                 6/28/2023 CMC         1.6 B130         $936.00 Finalize sale pleadings
                                 6/29/2023 CMC         0.6 B130         $351.00 Prepare for and participate in call re sale process
Total:                                                45.4           $25,552.00

Relief from Stay/Adequate Protection Proceedings
                                   5/8/2023 CMC          1 B140         $585.00 Work on responses to motions to compel; admin issues
                                  5/10/2023 CMC        2.3 B140       $1,345.50 Review letter re stop-shipment; research re same; draft/revise letter to carrier and supplier re violation of the automatic stay
                                  5/11/2023 LAO        0.7 B140         $227.50 Reviewing lien documents; attention to emails
                                  5/11/2023 CMC        0.7 B140         $409.50 Finalize and transmit stay violation letter




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                                                                                        For the Period from 5/5/23 - 6/30/23
                                                                 Billed
Matter                        Date      Employee Hours Task Code Amount       Narrative
                                                                             Conference with K. Cruickshank re: motion for relief from stay re; landlord's claims; prepare for opposition, outline re: same; email to client re:
                               6/5/2023 HBM         0.6 B140         $441.00 insurance policy
                               6/5/2023 HBM         1.2 B140         $882.00 Review motions on for hearing on 6/14; review issues re: same; emails re: same
                               6/5/2023 KRC         0.2 B140         $125.00 Confer with H. Murphy re: motion for relief filed by landlord; issues and response to same
                               6/5/2023 KRC         1.5 B140         $937.50 Research re: self insured retention treatment in Bankruptcy
                               6/5/2023 KRC         0.8 B140         $500.00 Draft objection to motion for relief; review documents sent by E. Meltzer
                               6/5/2023 KRC           1 B140         $625.00 Further research re: law on claim of insurance
                                                                             Work on resolving motions set for 6/15; telephone call with client; telephone call with attorney for landlord re: relief from stay; review issues re:
                               6/6/2023 HBM           2 B140       $1,470.00 motions; conference with K. Cruickshank; review and revise draft stipulation re: relief from stay
                               6/6/2023 HBM         0.7 B140         $514.50 Review motion for relief from stay; telephone call with client re: same (Dartmouth, MA)
                               6/6/2023 KRC         0.5 B140         $312.50 Continue research on insurance issues; confer with H. Murphy re: strategy; coordinate to contact movant
                               6/6/2023 KRC         1.8 B140       $1,125.00 Draft Stipulation with Movant re: State Court litigation
                               6/6/2023 KRC         0.4 B140         $250.00 Brief review of liability policy
                               6/6/2023 KRC         0.5 B140         $312.50 Confer with H. Murphy re: stipulation; revise same; sent to counsel to movants for review
                               6/8/2023 HBM         0.6 B140         $441.00 Work on resolving settlements on 2 motions; review draft orders re: same; emails re: same
                               6/8/2023 KRC         0.3 B140         $187.50 Review moving party's changes to Order and Stipulation on Motion for Relief with co-counsel to coordinate filing of same
                               6/8/2023 CMC         1.2 B140         $702.00 Work on relief from stay issues
                               6/8/2023 CMC           1 B140         $585.00 Work on responses to pending motions/admin issue
                              6/12/2023 HBM         0.6 B140         $441.00 Telephone call with attorney re: objection; conference with L. O'Farrell re: same
                              6/13/2023 LAO         2.3 B140         $747.50 Response to Soundwater motion for relief
                              6/15/2023 LAO         0.3 B140          $97.50 Meeting with HBM & CMC re: relief from stay
                              6/15/2023 LAO         0.3 B140          $97.50 Telephone conference with CMC & counsel for Soundwater; discussion with CMC
                              6/15/2023 CMC         1.2 B140         $702.00 Work on response to Dartmouth motion for relief
Total:                                             23.7           $14,063.50

Meetings and Communications with Creditors
                               5/10/2023 CMC        0.8 B150         $468.00 Review UST materials re initial debtor conference; coordinate with client re: same
                               5/11/2023 CMC          1 B150         $585.00 Coordinate materials for initial debtor conference; calls with client; review documents
                               5/16/2023 HBM        0.6 B150         $441.00 Review and respond to issues re: Fiserve; email to client
                               5/16/2023 HBM        0.3 B150         $220.50 Telephone call with creditor's counsel re: case status
                               5/18/2023 WRM        0.3 B150         $195.00 Group telephone conference on plan provisions
                               5/22/2023 HBM        0.3 B150         $220.50 Deal with creditor inquiry
                               5/23/2023 HBM        0.6 B150         $441.00 Telephone call with creditors committee counsel re; case background and overview; email to client re: same
                               5/24/2023 KRC        1.2 B150         $750.00 Coordinate production of loan documents requested by the Unsecured Creditors' Committee
                               5/27/2023 HBM        1.6 B150       $1,176.00 Prepare for and telephone call with UCC, DIP lenders, etc. re: UCC issues re: DIP; emails re: same
                               5/27/2023 CMC        1.4 B150         $819.00 Prepare for and participate in call with Lenders and Committee re DIP issues
                               5/29/2023 LAO          1 B150         $325.00 Call with CMC re: status of first day orders; telephone conference with committee, follow up emails
                               5/29/2023 CMC        0.8 B150         $468.00 Prepare for and participate in conference re DIP issues and first day pleadings
                               5/29/2023 CMC        0.9 B150         $526.50 Conferences and phone calls re order and hearing issues
                               5/30/2023 LAO        0.9 B150         $292.50 Second Day hearing prep call; reviewing emails, call with local counsel, editing order
                               5/30/2023 LAO        2.4 B150         $780.00 Preparing information requested from Committee re: consignment motion; editing COC re: utility motions
                                 6/5/2023 HBM       0.5 B150         $367.50 Telephone call with M. Kaufman re: case status and issues of DIP, section 341 meeting, etc.; emails re: DIP
                                 6/5/2023 HBM       1.9 B150       $1,396.50 Review Statement of Affairs; conference with K. Cruickshank; telephone call with client re: preparation of 341 meeting;
                                 6/5/2023 KRC       0.9 B150         $562.50 Attend 341 preparation; call with M. Salkowitz, M. Kaufman and H. Murphy; review motion for relief from stay by landlord
                                 6/6/2023 HBM       1.3 B150         $955.50 Prepare for and attend 341 meeting
                                 6/9/2023 CMC       0.7 B150         $409.50 Emails re notice re plan
                               6/12/2023 CMC        2.2 B150       $1,287.00 Review Pathlight documents; put together issues re Committee claims; further review of documents
                               6/16/2023 HBM        0.4 B150         $294.00 Emails to and from creditors committee counsel re: information and documents; email to client re: same




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                                                                                      For the Period from 5/5/23 - 6/30/23
                                                                Billed
Matter                        Date     Employee Hours Task Code Amount       Narrative
                                                                            Review documents and information requested by creditors committee; email re: same; conference with C. Condon re: same; telephone call with
                              6/19/2023 HBM         1 B150          $735.00 client re: same
                                                                            Telephone call from creditor's counsel re: plan and disclosure statement; email to and from co-counsel re: Plan; conference with C. Condon re:
                              6/20/2023 HBM        0.5 B150         $367.50 same
                              6/20/2023 LAO        0.5 B150         $162.50 Call with client re: list of contracts to assume
                                                                            Telephone call with creditors committee re: Default Notice, potential sale, issues re: same; telephone call with creditors committee counsel re:
                              6/22/2023 HBM          3 B150       $2,205.00 same; telephone call with J. Wolf; telephone call with G. Galardi; all re: DIP/sale; review letter for Pathlight; email re: same
                              6/22/2023 HBM        2.3 B150       $1,690.50 Prepare for and telephone call with creditors committee, DIP lenders, etc. re: case status, sale, July 7 hearing, etc.; emails re: same
                              6/22/2023 LAO        0.7 B150         $227.50 Meeting with team; call with J. Wolfe; call with Evelyn
                              6/22/2023 LAO        1.4 B150         $455.00 Call with lenders & committee; follow up call with company and SSG
                              6/23/2023 HBM        0.6 B150         $441.00 Telephone call with creditors committee re: BBBY claims, defenses, POC issues; conference with C. Condon re: same
                              6/23/2023 HBM          2 B150       $1,470.00 Emails re: case status, budget, DIP, etc.
                              6/23/2023 LAO        0.4 B150         $130.00 Returning calls to creditors
                              6/23/2023 CMC        1.2 B150         $702.00 Calls with Committee re lender default; response
                              6/24/2023 HBM        1.7 B150       $1,249.50 Telephone call with DIP lenders, creditors committee, SSG re: DIP Order, sale process; multiple emails re: same
                              6/24/2023 CMC        0.7 B150         $409.50 Calls re default issues; sale process, multiple emails
                              6/25/2023 CMC        1.1 B150         $643.50 Prepare for and participate in call with lenders re DIP default/other defaults
                              6/26/2023 LAO        0.5 B150         $162.50 Call with Evelyn and Committee re: issues
                              6/26/2023 CMC        0.9 B150         $526.50 Prepare for and participate in call with Committee re DIP issues
                              6/27/2023 HBM        0.3 B150         $220.50 Review Court Order re: hearing; telephone call with E. Meltzer re: same; email to client re: same, discussions of potential witnesses
                              6/27/2023 HBM        0.2 B150         $147.00 Telephone call with G. Gardari re: DIP Order and Hearing
                              6/27/2023 CMC        0.6 B150         $351.00 Emails/calls with Committee re DIP issues
                              6/28/2023 LAO        1.4 B150         $455.00 Telephone conference with Lenders; follow up call with HBM, CMC & Co-counsel
                              6/28/2023 HBM        0.8 B150         $588.00 Call with UCC and lenders re: "deal"
                              6/28/2023 HBM        1.3 B150         $955.50 Conference call with co-counsel on DIP order, etc.; follow up call with Committee
                              6/28/2023 HBM          1 B150         $735.00 New issues borrowing base; telephone conference with DIP lender
                              6/28/2023 CMC        0.8 B150         $468.00 Calls with Lenders re amended DIP
                              6/28/2023 CMC        0.9 B150         $526.50 Calls with Committee re deal
Total:                                            47.8           $29,004.50

Fee/Employment Applications
                              5/18/2023 AGL        0.2 B160         $130.00 Confer with H Murphy re disclosures for retention application
                              5/19/2023 KRC        0.7 B160         $437.50 Work on application to employ Murphy & King
                              5/22/2023 KRC        2.8 B160       $1,750.00 Continue to draft Murphy & King application to employ
                              5/23/2023 HBM        0.5 B160         $367.50 Finalize review of application to employ; conference with K. Cruickshank
                              5/23/2023 KRC        4.8 B160       $3,000.00 Continue to draft application to employ; prepare all exhibits
                              5/24/2023 KRC        0.9 B160         $562.50 Review co-counsel comments on M&K's Application to Employ; coordinate to finalize; coordinate to send to client, then to Troutman
                              5/24/2023 KRC        1.8 B160       $1,125.00 Work on M&K fee budget; confer with E. Meltzer re: same; revise same
                              6/14/2023 CMC        0.7 B160         $409.50 Review SSG application
                              6/21/2023 CMC        0.7 B160         $409.50 Work on fee issues; review; work on statement
Total:                                            13.1            $8,191.50

Avoidance Action Analysis
                              5/26/2023 AGL          1 B180         $650.00 Research disclosure statement materials - disclosure of potential causes of action.
                              5/30/2023 CRB        1.6 B180       $1,176.00 Attendance at the deposition of T. Frederick; and notes
                                                                            Multiple emails for UST re: Plan; co-counsel re: Solicitor Order; emails to UST; emails to lenders re: same;, client re: same; conference with C.
                              6/15/2023 HBM        1.6 B180       $1,176.00 Condon




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                                                                              Detailed Statement of Fees Incurred, by Project Category
                                                                                        For the Period from 5/5/23 - 6/30/23
                                                                  Billed
Matter                         Date      Employee Hours Task Code Amount       Narrative
                                                                              Two telephone calls with M. Kaufman re: case status, creditor committee questions, real estate consultant, Pathlight made-whole; conference with
                               6/19/2023 HBM         1.2 B180         $882.00 C. Condon re: same
                               6/19/2023 HBM         0.4 B180         $294.00 Telephone call from creditors committee counsel re: case status and sale; challenge questions
                               6/19/2023 CMC         1.4 B180         $819.00 Review documents and statements re Pathlight
                               6/20/2023 CMC         1.5 B180         $877.50 Work on disclosure statement issues; review UST comments; conference with client and Delaware counsel re same
                               6/20/2023 CMC         1.2 B180         $702.00 Review Committee correspondence re Pathlight issues; confer with client
                               6/21/2023 HBM         1.3 B180         $955.50 Telephone call with client, SSG re: update; 363 process; follow up with Debtor re: same and issues to be addressed with DIP Lender, etc.
                               6/21/2023 CMC           1 B180         $585.00 Work on issues re BBBy claim; memorandum re same
Total:                                              12.2            $8,117.00

Assumption/Rejection of Leases and Contracts
                                  5/9/2023 HBM       0.3 B185         $220.50 Telephone call with counsel for BBBY re: lease and case status
                                 5/11/2023 LAO       2.9 B185         $942.50 Researching rejection/assumption issues; researching Utility Adequate Assurance
                                 5/11/2023 HBM       1.7 B185       $1,249.50 Review issues re: landlords and emails re: same; telephone call with J. Wolf re: BBBY re: same; emails re: same
                                 5/11/2023 HBM       0.4 B185         $294.00 Deal with Ikea landlord; email to client re: same
                                 5/15/2023 CMC       1.1 B185         $643.50 Compile list of BBBy subleases; review documents re BBBy issues; confer with BBBy counsel
                                 5/15/2023 CMC       0.9 B185         $526.50 Further work on BBBy issues

                               5/16/2023 CRB         0.4 B185         $294.00 Conference with C. Condon to consider the BBBY settlement and release agreement in the context of the leases and lease rejection and lien claim
                               5/16/2023 HBM         1.2 B185         $882.00 Several telephone calls with K&E, client re; subleases, etc.
                               5/16/2023 CMC         1.2 B185         $702.00 Further work on BBBy issues; confer with BBBy counsel re abandonment and rejection
                               5/17/2023 HBM         0.9 B185         $661.50 Multiple emails re: lease status and issues; telephone call with John Kuzinevetch re: same
                               5/17/2023 HBM         0.3 B185         $220.50 Telephone call with landlord re: status of rent, etc.
                               5/17/2023 CMC         1.1 B185         $643.50 Review lease issues re bifurcation
                               5/17/2023 CMC         0.9 B185         $526.50 Emails; phone calls with landlords re case status and next steps
                               5/18/2023 AGL         1.4 B185         $910.00 Several conferences with H Murphy, L O'Farrell re procedures for assumption/rejection of contracts. Review draft plan provisions.
                               5/18/2023 CMC         1.5 B185         $877.50 Work on plan assumption provisions
                               5/18/2023 CMC         1.7 B185         $994.50 Draft/revise disclosure statement
                               5/19/2023 HBM         0.3 B185         $220.50 Review letters re: adequate assurance s. 365; emails re: same
                               5/19/2023 HBM         0.3 B185         $220.50 Telephone calls re: real estate leases
                               5/19/2023 HBM         0.7 B185         $514.50 Telephone call with attorneys for multiple creditors; telephone call with landlord attorney
                               5/19/2023 CMC         0.7 B185         $409.50 Further work on BBBy issues; calls re: same
                               5/23/2023 LAO         1.7 B185         $552.50 Meeting with K & E re: BBBy; discussion with HBM re: objection to utility motion
                               5/23/2023 CMC         1.1 B185         $643.50 Work on BBBy lease issues; call with counsel re same
                                6/1/2023 LAO         0.5 B185         $162.50 Working on lease issue - re: email from K&E
                                6/6/2023 HBM         0.5 B185         $367.50 Telephone cal with attorney for landlord re: 4 locations; telephone call with client re: same
                                6/7/2023 HBM         0.8 B185         $588.00 Emails and telephone calls with various landlords and creditors counsel re: case status, etc.
                                6/7/2023 CMC         1.8 B185       $1,053.00 Draft Plan of Reorganization; meetings re same
                               6/13/2023 HBM         0.7 B185         $514.50 Multiple emails re: claims and landlords; emails with co-counsel re: issues; telephone call with client re: same
                                                                              Prepare for and telephone call with M. Kaufman re: landlords, utilities and DIP issues; conference with L. O'Farrell re: same; telephone call with M.
                               6/13/2023 HBM           1 B185         $735.00 Salkovitz re: results of calls with landlords
                               6/13/2023 LAO         2.2 B185         $715.00 Working on motion to extend lease rejection date
                               6/13/2023 LAO         0.7 B185         $227.50 Telephone conference with client re: landlord
                               6/13/2023 CMC         0.9 B185         $526.50 Work on lease issues
                               6/14/2023 LAO         4.1 B185       $1,332.50 Work on motion to extend lease rejection date
                               6/14/2023 HBM         0.4 B185         $294.00 Telephone call with BBBY counsel re: corporate office in NJ, Ikea; conference with client re: same
                               6/14/2023 HBM         1.5 B185       $1,102.50 Review and revise motion to extend time to assume and reject lease; several conferences with L. O'Farrell re: same
                               6/14/2023 CMC         1.4 B185         $819.00 Draft/revise lease motion
                               6/14/2023 CMC           1 B185         $585.00 Work on lease/contract assumption motion



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                                                                                Murphy & King, Professional Corporation
                                                                        Detailed Statement of Fees Incurred, by Project Category
                                                                                  For the Period from 5/5/23 - 6/30/23
                                                            Billed
Matter                    Date     Employee Hours Task Code Amount       Narrative
                          6/14/2023 CMC        0.9 B185         $526.50 Draft/revise motion to extend
                          6/15/2023 LAO        2.8 B185         $910.00 Work on Motion to extend lease rejection date
                          6/15/2023 HBM          1 B185         $735.00 Work on motion executory contracts issues; several conferences with C. Condon and L. O'Farrell re: same
                          6/15/2023 CMC        1.9 B185       $1,111.50 Draft/revise motion to extend time to assume or reject
                          6/15/2023 CMC        1.1 B185         $643.50 Draft lease rejection motion
                          6/15/2023 CMC        1.3 B185         $760.50 Draft/revise motion to reject
                          6/15/2023 CMC        0.7 B185         $409.50 Work on issues re motion to extend
                          6/16/2023 AGL        0.6 B185         $390.00 Review executory contract, employee issues.
                          6/16/2023 LAO        0.8 B185         $260.00 Preparing schedule to motion to reject
                          6/16/2023 HBM        0.6 B185         $441.00 Work on issues re: lease rejections; emails to client; conference with K. Cruickshank re: same
                          6/16/2023 CMC        1.9 B185       $1,111.50 Draft/revise motion to reject leases; multiple emails
                          6/16/2023 CMC          1 B185         $585.00 Draft/revise order on motion to reject
                          6/16/2023 CMC        2.1 B185       $1,228.50 Revise plan re lease assumption issues; draft memorandum to client re: same
                          6/16/2023 CMC        0.7 B185         $409.50 Draft/revise schedule of rejected leases
                          6/16/2023 CMC        1.1 B185         $643.50 Finalize lease rejection motion
                          6/19/2023 HBM        0.6 B185         $441.00 Emails to creditors committee re: documents; emails to and from landlords; emails to and from BBBY re: subleases
                          6/19/2023 CMC        1.2 B185         $702.00 Multiple emails with BBBy counsel re lease issues; review schedule and lease issues; work on claim
                          6/20/2023 HBM        0.7 B185         $514.50 Multiple emails re: landlord issues, utility request and vendors; conference with L. O'Farrell and C. Condon re: response re: same
                          6/20/2023 HBM        0.5 B185         $367.50 Telephone call with client re: executory contracts, cure list, etc.
                          6/20/2023 CMC          1 B185         $585.00 Calls with client re contracts to be assumed under the Plan; review same re: Plan
                          6/21/2023 HBM        0.3 B185         $220.50 Emails re: landlords leases; email to client re: same
                          6/22/2023 CMC        0.9 B185         $526.50 Work on lease rejection issues; multiple calls re same
                          6/25/2023 LAO        0.5 B185         $162.50 Calls re: landlord contact information
                          6/29/2023 HBM        0.5 B185         $367.50 Review proposals from landlord re: settlement of lease motion
                          6/30/2023 LAO        0.2 B185          $65.00 Reviewing lease rejection motion and email from Huntington re; same
Total:                                        65.1           $36,289.50

Other Contested Matters
                          5/22/2023 HBM        0.3 B190         $220.50 Review the requests for 366 deposit; email re: same
                          5/23/2023 HBM        0.5 B190         $367.50 Telephone call with BBBY re: subleases
                          5/23/2023 HBM        1.6 B190       $1,176.00 Review Objection; conference with L. O'Farrell re: same; telephone call with client re: same
                          5/23/2023 KRC        0.2 B190         $125.00 Review email from client to president of Avidia; correspond for response to LL
                          5/23/2023 KRC        1.5 B190         $937.50 Conference with HBM re: research utility adequate deposit; conduct research re: sale
                          5/24/2023 ECJ        1.5 B190         $360.00 Research and review court orders re: utility payments
                          5/24/2023 LAO        1.5 B190         $487.50 Requests from committee and discussion with KRC re: reply to objection to utility motion
                          5/24/2023 HBM        0.8 B190         $588.00 Telephone call with CC/FA and client re: case status and issues
                          5/24/2023 HBM        0.4 B190         $294.00 Telephone call with J. Wolf re: landlord's objection to DIP; email re: same
                          5/24/2023 HBM        0.7 B190         $514.50 Telephone call with client re: 366 report; conference with L. O'Farrell and K. Cruickshank re: replies
                          5/24/2023 HBM        0.8 B190         $588.00 Review objection to utility motion; conference with K. Cruickshank re: same
                          5/24/2023 KRC        1.5 B190         $937.50 Review objection to Utility Motion; review law; draft response; conference with COF re: same
                          5/24/2023 KRC          3 B190       $1,875.00 Draft reply to objection to Utility Motion
                          5/24/2023 KRC        0.4 B190         $250.00 Conference with HBM and LAO re: Reply to Objection
                          5/24/2023 KRC        0.2 B190         $125.00 Confer with H. Murphy re: reply
                          5/25/2023 CRB        3.4 B190       $2,499.00 Review Objection by Landlord to DIP Financing; draft reply
                                                                        Deal with Objections by utilities, landlords; multiple conferences with team re: same; emails to client and co-counsel re: same; review and revise
                          5/25/2023 HBM        5.7 B190       $4,189.50 replies
                          5/25/2023 KRC        3.5 B190       $2,187.50 Continue to draft Reply to Objection to Utility Motion
                          5/25/2023 KRC          1 B190         $625.00 Conference with HBM re: revisions to Reply
                          5/25/2023 KRC        1.5 B190         $937.50 Continue to draft Reply to Objection



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                                                               Murphy & King, Professional Corporation
                                                       Detailed Statement of Fees Incurred, by Project Category
                                                                 For the Period from 5/5/23 - 6/30/23
                                           Billed
Matter   Date     Employee Hours Task Code Amount      Narrative
         5/25/2023 KRC        0.5 B190         $312.50 Conference with HBM re: revisions to Reply; finalize same; forward to E. Meltzer for review and filing
         5/26/2023 LAO          2 B190         $650.00 Finalizing final orders; Final Schedules call with team
                                                       Deal with 366 potential settlement; review letter re: same; conference with K. Cruickshank; email with Troutman re: same; work on revising
         5/26/2023 HBM          4 B190       $2,940.00 Objections to Final Orders
         5/26/2023 KRC          2 B190       $1,250.00 Review settlement offer of utilities; conference with HBM re: same; prepare schedule of proposed numbers
         5/26/2023 CMC        0.7 B190         $409.50 Revisions to final first-day orders
         5/27/2023 CMC          1 B190         $585.00 Work on revisions to first-day orders
         5/29/2023 CRB        0.2 B190         $147.00 Consider objection by Committee to DIP financing motion
         5/29/2023 LAO        4.6 B190       $1,495.00 Incorporating edits to first day orders, meeting with team to review and discuss edits to first day orders
         5/29/2023 CMC        2.5 B190       $1,462.50 Work on revisions to first-day orders; conferences regarding same; multiple emails to Committee and UST trustee
                                                       Work on resolving UCC issues re: Final Order; telephone call with co-counsel re: same; several conferences with C. Condon re: sale and response to
         5/29/2023 HBM          3 B190       $2,205.00 UCC questions to various Orders
         5/30/2023 LAO        2.9 B190         $942.50 Finalizing first day orders
                                                       Deal with issues re: tomorrow's hearing; request for depositions; conference with C. Bennett re: same; emails re: same; telephone call with client
         5/30/2023 HBM        1.7 B190       $1,249.50 re: same
         5/30/2023 HBM          2 B190       $1,470.00 Deal with issues re: Final Orders; multiple conferences with C. Bennett and L. O'Farrell re: same; emails re: same
         5/30/2023 HBM        1.5 B190       $1,102.50 Review UCC's objections to store closing motion and consignment motion, DIP; conference with L. O'Farrell and C. Condon re: same
         5/30/2023 HBM        0.4 B190         $294.00 Telephone call with co-counsel re: coordinate matter for tomorrow's hearing, Orders, etc.
         5/30/2023 CMC        1.5 B190         $877.50 Prepare for hearing; review objections and other issues
         5/30/2023 CMC        1.5 B190         $877.50 Review issues re hearing; conference re same
         5/30/2023 HBM        1.7 B190       $1,249.50 Work on resolving issues re: Orders
                                                       Conference with H. Murphy re background facts in connection with preparation for M. Salkowitz deposition; review objection filed by Committee
         5/30/2023 CRB        0.6 B190         $441.00 to DIP financing order and store closing in preparation for M. Salkowitz deposition
         5/31/2023 LAO        1.8 B190         $585.00 Attendance at second day hearings
         5/31/2023 LAO        0.2 B190          $65.00 Reviewing changes from Troutman; call with HBM
         5/31/2023 CMC        1.5 B190         $877.50 Prepare for continued hearing; review Committee objections re same
                                                       Prepare for and attend Hearing on several motions; review terms of deal; UCC; multiple conferences with client and co-counsel re: settlement of
         5/31/2023 HBM        5.5 B190       $4,042.50 Landlord's objection
         5/31/2023 CMC        1.1 B190         $643.50 Work on revised orders following hearing
         5/31/2023 CMC        0.9 B190         $526.50 Follow up on issues with DE counsel re: hearing and outstanding matters
         5/31/2023 CRB        1.6 B190       $1,176.00 Attendance at hearing on various motions, particularly the DIP Final order and final order store closing
          6/2/2023 LAO          2 B190         $650.00 Drafting suggestion of bankruptcy; review documents re: state court matter; emails re: filings, etc.
          6/2/2023 HBM          1 B190         $735.00 Review two motions filed and scheduled for hearing on June 15; email to client and co-counsel re: same
          6/8/2023 HBM        0.8 B190         $588.00 Emails to and from landlords, utilities and creditors
          6/9/2023 LAO        0.5 B190         $162.50 Utility discussion with CMC; draft response
         6/12/2023 LAO        2.2 B190         $715.00 Utilities; telephone conference with client re: same
         6/12/2023 LAO        1.2 B190         $390.00 Utilities; telephone conference with John Craig
         6/12/2023 HBM        1.2 B190         $882.00 Review issues re: utility documents; telephone call with attorney for utilities re: adequate assurance
         6/13/2023 LAO        1.3 B190         $422.50 Attention to emails; utility request from J. Craig
         6/20/2023 HBM        0.3 B190         $220.50 Email to DIP lenders re: utility objection; email to client re: same
         6/20/2023 LAO        1.9 B190         $617.50 Attention to open matters, etc.; review pending motions; work on response
         6/20/2023 CMC        1.3 B190         $760.50 Further work on contract/lease issues
         6/22/2023 LAO        0.3 B190          $97.50 Drafting response to letter from utility company
         6/26/2023 HBM        0.3 B190         $220.50 Telephone call with attorney for utilities re: objection to 366 Order/Motion
         6/28/2023 LAO        1.1 B190         $357.50 Reviewing open items; pending motions
         6/29/2023 HBM        1.6 B190       $1,176.00 Review of utility motion, objection and stipulation of facts
         6/29/2023 LAO        0.9 B190         $292.50 Call with S. Hoffman re: pending motions/objections; call with lenders and committee
         6/30/2023 LAO        1.2 B190         $390.00 Call with Leo and CMC; drafting opposition to motion for admin claim
         6/30/2023 LAO        1.4 B190         $455.00 Edits, attention to objections, declarations, new DIP order



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                                                                    Detailed Statement of Fees Incurred, by Project Category
                                                                              For the Period from 5/5/23 - 6/30/23
                                                        Billed
Matter                Date     Employee Hours Task Code Amount      Narrative
                      6/30/2023 CMC          1 B190         $585.00 Work on response to landlord objection
Total:                                    98.4           $56,878.50

Non-Working Travel
                       5/9/2023 HBM        1.5 B195       $1,102.50 Travel Delaware to Boston
                       5/9/2023 CMC        1.5 B195         $877.50 Travel to Boston from hearing
                       5/9/2023 CMC        1.5 B195         $877.50 Travel to Delaware
                      5/31/2023 HBM        1.3 B195         $955.50 Travel back to Boston
                      5/31/2023 CMC        1.5 B195         $877.50 Travel back to Boston
                                           7.3            $4,690.50
                                                         -$2,345.25 50% discount
Total:                                     7.3            $2,345.25

Business Operations
                       5/5/2023 KRC        3.5 B200       $2,187.50 Continue to revise/draft first day filings and pleadings re: post-petition operation
                       5/5/2023 LAO        2.9 B200         $942.50 Draft/revise insurance motion; Utility motion
                       5/5/2023 LAO        4.3 blank      $1,397.50 Revising first day motions regarding operations
                       5/6/2023 LAO        2.9 B200         $942.50 Finalizing First Day Motions re: revenue, other operational issues
                       5/6/2023 LAO        2.7 B200         $877.50 Finalizing first day motions; discussions with R&G re: consignment motion
                       5/6/2023 CMC        0.9 B200         $526.50 Revise supplemental lst day affidavit
                       5/6/2023 CMC          1 B200         $585.00 Work on consignment motion
                       5/7/2023 LAO        3.8 B200       $1,235.00 Draft/revise post filing first day motions
                       5/7/2023 LAO        0.7 B200         $227.50 Telephone conference with team re: consignment
                       5/7/2023 LAO        0.4 B200         $130.00 Finalizing documents to be filed; email to lenders with word documents
                       5/7/2023 HBM          4 B200       $2,940.00 Finalize Supplemental Motions, Affidavits and changes to last 3 first day motions
                       5/7/2023 CMC          1 B200         $585.00 Further work on supplemental affidavit re: first day pleadings
                       5/7/2023 HBM        2.3 B200       $1,690.50 Several telephone calls with Lender's counsel and client; multiple conferences with L. O'Farrell re: same
                       5/8/2023 MXC        0.8 B200         $192.00 Set up binder for first day hearing
                       5/8/2023 LAO        0.6 B200         $195.00 Attention to emails/drafts to confirm filing
                       5/8/2023 LAO        4.2 B200       $1,365.00 First day hearing prep
                       5/8/2023 HBM        3.5 B200       $2,572.50 Work on issues with First Day Motions
                       5/8/2023 HBM        2.3 B200       $1,690.50 Conference with client re: case status and issues; preparation for hearing; emails re: same
                       5/8/2023 HBM        1.2 B200         $882.00 Begin preparation for hearing
                       5/8/2023 CMC        2.5 B200       $1,462.50 Prepare for hearing on lst Day Motions; prepare outline for presentation
                       5/8/2023 CMC        2.2 B200       $1,287.00 Work on revisions to orders with Lender comments
                       5/8/2023 CMC        1.5 B200         $877.50 Further revisions to first-day orders
                       5/8/2023 CMC        0.9 B200         $526.50 Prepare for and participate in call with Lenders re store closing issues
                       5/8/2023 CMC        1.2 B200         $702.00 Revisions to consignment order; conferences re same
                       5/8/2023 CMC        0.9 B200         $526.50 Conferences with DE counsel re lender comments and first-day hearing
                       5/8/2023 CMC        1.5 B200         $877.50 Further revisions to orders; work on final hearing agenda
                       5/8/2023 CMC        0.8 B200         $468.00 Further prep for hearing; conferences with H. Murphy re same
                       5/8/2023 HBM          2 B200       $1,470.00 Review/revise first drafts re: DIP
                       5/8/2023 HBM          2 B200       $1,470.00 Multiple emails and telephone calls with local counsel and lender's counsel re: UST issues
                       5/9/2023 HBM        5.3 B200       $3,895.50 Prepare for and attend hearing on first day motions; meet with co-counsel and client re: same
                       5/9/2023 HBM        3.5 B200       $2,572.50 Work on finalizing Orders and changes re: same; emails re: same
                       5/9/2023 CRB        1.1 B200         $808.50 Attendance at hearing on first day motions
                       5/9/2023 LAO        1.2 B200         $390.00 Prep for first day hearings
                       5/9/2023 CMC        0.7 B200         $409.50 Conference re orders; emails to Lenders re same




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                                                                          Murphy & King, Professional Corporation
                                                                  Detailed Statement of Fees Incurred, by Project Category
                                                                            For the Period from 5/5/23 - 6/30/23
                                                      Billed
Matter              Date     Employee Hours Task Code Amount       Narrative
                     5/9/2023 CMC        3.5 B200       $2,047.50 First-day hearings; work on hearing prep; outline presentation
                     5/9/2023 CMC        0.9 B200         $526.50 Conference with Delaware counsel and client re hearing
                     5/9/2023 CMC          1 B200         $585.00 Prepare for and participate in conference with UST regarding remaining issues
                     5/9/2023 CMC        1.5 B200         $877.50 Attend hearing in Wilmington bankruptcy court re 1st day motions
                     5/9/2023 CMC        2.6 B200       $1,521.00 Work on revisions to first-day orders and certifications re: same
                     5/9/2023 CMC          1 B200         $585.00 Multiple calls with creditors regarding issues re filing
                    5/10/2023 CMC          1 B200         $585.00 Work finalizing orders on lst day motions
                    5/10/2023 CMC        0.9 B200         $526.50 Address issues re post-petition insurance claims; calls, emails with client regarding same
                    5/15/2023 HBM          1 B200         $735.00 Conference with C. Condon re: open case issues, to do list, Disclosure Statement outline and 366 requests
                    5/15/2023 LAO        1.1 B200         $357.50 Utility adequate assurance
                    5/15/2023 LAO        1.2 B200         $390.00 Customer program; attention to emails; plan language
                    5/15/2023 CMC        1.1 B200         $643.50 Work on utility issues and response to objection to DIP
                                                                  Review comments and revisions to Interim Orders, Proposed Final Orders re: First Day Motions; conference with L. O'Farrell re: same; email to
                    5/22/2023 HBM        1.8 B200       $1,323.00 client re: same
                                                                  Work on issues re: 2nd day hearing, orders; review blacklines from counsel to DIP lenders; telephone call with counsel; emails re: same; conference
                    5/22/2023 HBM        3.2 B200       $2,352.00 with L. O'Farrell re: same; telephone call with local counsel re: same
                    5/23/2023 LAO        1.8 B200         $585.00 Draft of Final Orders
                    5/25/2023 CMC        1.1 B200         $643.50 Prep for 5/31 hearings
                    5/30/2023 CMC        1.6 B200         $936.00 Work on revised orders for store closing and consignment motions
                    5/31/2023 CMC        3.2 B200       $1,872.00 Travel to and attend hearing on various motions in Wilmington Bankruptcy Court; multiple conferences re: same
                    6/13/2023 CMC        0.5 B200         $292.50 Work on contract issues
                    6/15/2023 LAO        1.2 B200         $390.00 Drafting memo to client re: executory contracts
                    6/15/2023 CMC        0.9 B200         $526.50 Address issues re consignment default
                    6/27/2023 LAO        0.8 B200         $260.00 Reviewing Store Closing Procedures
Total:                                 103.2           $57,468.00

Employee Benefits
                     5/5/2023 LAO        4.1 B220       $1,332.50 Draft/revise wage motion
                     5/5/2023 KRC        0.4 B220         $250.00 Work on Wage Motion and all first day pleadings
                     5/5/2023 KRC        0.6 B220         $375.00 Telephone call with client re: questions on Wage Motion
                    5/30/2023 CMC        1.2 B220         $702.00 Work on revised orders for wages and customer programs
                    6/14/2023 AGL        1.3 B220         $845.00 Confer with H Murphy re consideration of employee issues. Research re same. Attend conference call with client re same.
                    6/14/2023 HBM        0.9 B220         $661.50 Telephone call with client re: variety of issues re: plan/employees; conference with A. Lizotte re: same
                    6/19/2023 AGL        0.7 B220         $455.00 Legal research re claims allowance, employee issues.
                    6/20/2023 AGL          3 B220       $1,950.00 Further review and analysis of employee issues. Research re same.
                    6/21/2023 AGL          1 B220         $650.00 Draft memo re employee issues.
                    6/23/2023 LAO        0.9 B220         $292.50 Research employment law issue
                    6/26/2023 KRC        1.2 B220         $750.00 Work on WARN act claims; review analysis
                    6/27/2023 LAO        0.3 B220          $97.50 Attention to email; call with CMC re emails
                    6/27/2023 LAO        0.8 B220         $260.00 Work on employment law issues
                    6/27/2023 LAO        0.3 B220          $97.50 Meeting with KRC, Laura, John re: employment issues
                    6/27/2023 LAO        0.7 B220         $227.50 Call with Jackson Lewis re: Warn
                    6/27/2023 KRC        0.5 B220         $312.50 Review detailed analysis prepared by Laura Britton, follow up with additional review
                    6/27/2023 KRC        0.8 B220         $500.00 Call with Jackson Lewis (Jeff Rudd and Sarah B), John K and Laura Britton re Warn issues and determination re same
                    6/28/2023 KRC        0.4 B220         $250.00 Review inquiry of John Kuzinevich re severance pay issues, confer briefly with HBM re DIP order, respond to John K
                    6/29/2023 CMC        0.7 B220         $409.50 Work on WARN issues
                    6/30/2023 SMV        0.6 B220         $345.00 Review draft WARN notice and revise same; confer with C. Condon re: issues surrounding same
                    6/30/2023 CMC        1.4 B220         $819.00 Emails re WARN issues with employment counsel; research re same
                    6/30/2023 CMC        0.6 B220         $351.00 Work on WARN notice; revise same



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                                                                                   Murphy & King, Professional Corporation
                                                                           Detailed Statement of Fees Incurred, by Project Category
                                                                                     For the Period from 5/5/23 - 6/30/23
                                                               Billed
Matter                       Date     Employee Hours Task Code Amount       Narrative
                             6/30/2023 CMC        0.5 B220         $292.50 Finalize WARN Notice
Total:                                           22.9           $12,225.50

Financing/Cash Collections
                              5/5/2023 CMC        2.2 B230       $1,287.00 Draft/revise DIP financing motion and DIP Agreement
                              5/5/2023 CRB        1.5 B230       $1,102.50 Continue work on reviewing and editing first day motions and orders
                              5/5/2023 CRB        0.6 B230         $441.00 Finalize draft of grid insert for inclusion in DIP borrowing motion and order
                              5/5/2023 CMC        1.4 B230         $819.00 Draft/revise DIP Financing Motion, etc. and review DIP Agreement
                                                                           Work on DIP loan Agreement, Order, Budget, etc.; review and revise drafts; extended telephone call with client re: issues; telephone call with J.
                              5/5/2023 HBM        3.5 B230       $2,572.50 Wolf; work with local counsel re: petition, first day motions, etc.
                              5/5/2023 HBM        0.6 B230         $441.00 Telephone call with E. Metzler re: case status, first day hearings, and UST issues; email re: same
                              5/5/2023 HBM        1.2 B230         $882.00 Review and revise lender's changes to DIP Order; email re: same
                              5/5/2023 HBM        1.5 B230       $1,102.50 Review and revise draft DIP motion; conference with C. Bennett and C. Condon re: same
                              5/5/2023 CRB        1.8 B230       $1,323.00 Multiple discussions with client relating to budget and availability issues; discussions with local counsel regarding procedures
                              5/5/2023 CRB          2 B230       $1,470.00 Draft DIP motion and order
                              5/5/2023 CRB        1.5 B230       $1,102.50 Review Lender DIP facility and edits; multiple emails relating to financing and availability issues
                              5/6/2023 HBM          2 B230       $1,470.00 Work on filing DIP motion, Order; Credit Agreement
                              5/6/2023 CMC        2.5 B230       $1,462.50 Draft/revise DIP Order and DIP Agreement; conferences with client re same
                              5/6/2023 CMC        1.8 B230       $1,053.00 Further work on DIP Order; email re same
                              5/6/2023 CMC        1.5 B230         $877.50 Review/revise Lender comments to DIP
                              5/6/2023 HBM        2.5 B230       $1,837.50 Draft/revise GOB motion and consignment motion; review Lender's revisions; our response; multiple conferences and emails re: same
                              5/7/2023 CMC        1.5 B230         $877.50 Further revisions to DIP order; review Lender changes
                              5/7/2023 CMC        1.2 B230         $702.00 Finalize DIP Agreement re: Lender/Debtor contracts
                              5/8/2023 CMC          1 B230         $585.00 Revisions to cash management order; conferences with client re same
                              5/9/2023 CRB        0.7 B230         $514.50 Review the schedules to the DIP facility and certification to update and complete
                                                                           Attendance to completing schedules and completion of necessary documents for closing and various follow-up emails and communications to
                             5/10/2023 CRB        1.4 B230       $1,029.00 confirm final terms and funding
                             5/10/2023 LAO        3.2 B230       $1,040.00 Organizing closing docs re: DIP plan; emails re: same
                             5/10/2023 HBM        0.7 B230         $514.50 Several conferences with C. Bennett re: DIP closing, issues re: same
                             5/10/2023 HBM        0.8 B230         $588.00 Review DIP; conference with C. Bennett re: same
                             5/10/2023 CMC        1.4 B230         $819.00 Work on DIP closing issues; review schedules; coordinate same
                             5/11/2023 LAO        0.4 B230         $130.00 Reviewing cash management order vs. trustee guidelines
                             5/15/2023 CRB        0.4 B230         $294.00 Conference with C. Condon to coordinate schedules and exhibits to complete the closing on the DIP and open issues
                             5/24/2023 AGL        0.2 B230         $130.00 Emails re: conference with Faan re: budget
                             5/24/2023 AGL        0.2 B230         $130.00 Confer with client re tax issues.
                             5/24/2023 HBM        0.5 B230         $367.50 Work on budget, professional fees; email re: same
                             5/24/2023 HBM        1.2 B230         $882.00 Extended telephone call with client and FAAN re: budget, litigation analysis
                             5/24/2023 CMC        0.8 B230         $468.00 Work on issues re DIP objections; research
                             5/24/2023 CMC        0.8 B230         $468.00 Work on budget issues with client
                             5/25/2023 CMC        1.5 B230         $877.50 Review DIP Objections; research re same
                             5/25/2023 CMC        2.3 B230       $1,345.50 Draft/revise responses to DIP objections
                             5/30/2023 CMC        1.9 B230       $1,111.50 Work on revisions to DIP Order; conference with H. Murphy
                             5/30/2023 CMC        2.5 B230       $1,462.50 Travel to Wilmington; prep for hearing; work on flight re: plan and DIP issues
                             5/30/2023 HBM        2.5 B230       $1,837.50 Travel to Philadelphia; prepare for hearing; emails re: same; work on flight
                              6/2/2023 LAO        0.9 B230         $292.50 Call with client; call with DIP counsel re: financing
                              6/2/2023 LAO        0.7 B230         $227.50 Reviewing Budget changes, call with M. Kaufman & HBM, emails with M. Kaufman re: budget
                                                                           Review latest draft of final DIP order; emails re: same; telephone call with DIP lenders re: same and Plan; several telephone calls with client re:
                              6/2/2023 HBM        4.8 B230       $3,528.00 same; review revisions to draft Budget for DIP pleadings; emails re: same; several telephone calls to local counsel re: same
                              6/3/2023 LAO        1.2 B230         $390.00 Budget call with lenders, etc.; follow up with HBM; budget call with CTS team



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                                                               Murphy & King, Professional Corporation
                                                       Detailed Statement of Fees Incurred, by Project Category
                                                                 For the Period from 5/5/23 - 6/30/23
                                           Billed
Matter   Date     Employee Hours Task Code Amount      Narrative
          6/5/2023 LAO        0.4 B230         $130.00 Reviewing DIP order edits
          6/5/2023 HBM        0.7 B230         $514.50 Review latest proposed DIP Order; email to client re: same; telephone call with M. Kaufman re: same; email to DIP Lenders re: same
          6/9/2023 CMC        0.9 B230         $526.50 Review notice of default; emails/phone calls re same
         6/12/2023 HBM          1 B230         $735.00 Review Notice; review issues re: default on DIP; telephone call with client re: same; conference with C. Condon re: same
         6/12/2023 HBM        0.3 B230         $220.50 Emails to client re: DIP loan, issues and case status
         6/12/2023 HBM        0.7 B230         $514.50 Telephone call with client re: DIP loan and modifications re: same
         6/21/2023 HBM        0.8 B230         $588.00 Extended telephone call with client re: SSG/DIP loan issues; response to DIP lenders, case strategy re: potential bid procedures
         6/21/2023 HBM        0.6 B230         $441.00 Telephone call with co-counsel re: potential bid procedures motion and issues re: same, etc.
         6/21/2023 HBM        0.3 B230         $220.50 Telephone call from client re: results of call with DIP lender
         6/21/2023 HBM        0.2 B230         $147.00 Telephone call with client re: latest from DIP lenders
         6/21/2023 CMC        0.6 B230         $351.00 Review notice of default
         6/21/2023 CMC        1.1 B230         $643.50 Multiple calls with lender re Plan/budget issues
         6/22/2023 HBM        0.8 B230         $588.00 Review Default Notice from DIP lenders; re: DIP order re: same; emails re: same
         6/22/2023 LAO        0.1 B230          $32.50 Review carve out trigger notice/dip order
         6/22/2023 CMC        1.2 B230         $702.00 Calls with client re default/next steps
         6/22/2023 CMC        1.5 B230         $877.50 Prepare for and participate in calls with Lenders re next steps/default; follow up with client
         6/23/2023 CMC        0.7 B230         $409.50 Multiple calls with client re lender issues; revised budget
         6/23/2023 CMC        1.2 B230         $702.00 Work on default issues; response to Lenders
         6/24/2023 HBM        2.3 B230       $1,690.50 Emails and telephone calls to DIP lenders, client, etc. re: DIP default options, etc.
         6/24/2023 HBM          3 B230       $2,205.00 Review proposed supplemental DIP Order from DIP lenders; multiples emails and telephone calls re: same
         6/25/2023 HBM        0.3 B230         $220.50 Telephone call to client re: call with DIP lenders; follow up with the lenders
         6/25/2023 HBM        2.7 B230       $1,984.50 Work on emergency motion for DIP; conference with C. Condon re: same
         6/25/2023 LAO        0.2 B230          $65.00 Call with CMC prior to lender call
         6/25/2023 CMC        1.2 B230         $702.00 Review proposed order re Carve-Out; review Final DIP Order re: same; conference re issues in advance of call
         6/25/2023 CMC        3.2 B230       $1,872.00 Draft/revise motion to amend DIP order
         6/25/2023 CMC          1 B230         $585.00 Further work on motion to amend DIP Order
         6/26/2023 LAO        2.7 B230         $877.50 Edits to proposed order; reviewing DIP Order
         6/26/2023 KRC        0.4 B230         $250.00 Confer with H. Murphy re: issues with emergency motion with DIP lenders
                                                       Telephone call with FAAM; telephone call with creditors committee re: case status and issues; telephone call with client re: same; telephone call
         6/26/2023 HBM        2.5 B230       $1,837.50 with SSG re: same; all re: DIP Order, Budget, Sale Process, etc.
                                                       Finalize draft motion for Supplemental Financing; multiple telephone calls with local counsel re: same; telephone call with SSG re: same; several
         6/26/2023 HBM        3.2 B230       $2,352.00 conferences with C. Condon
         6/26/2023 CMC        2.1 B230       $1,228.50 Draft/revise motion to approve amended DIP order
         6/26/2023 CMC        0.7 B230         $409.50 Review and finalize DIP motion
         6/27/2023 AGL        2.5 B230       $1,625.00 Analysis of financing issues, DIP loan documents. Conferences with H Murphy, E Jeffery, L O'Farrell re same.
         6/27/2023 AGL        1.7 B230       $1,105.00 Legal research re DIP financing disputed issues
                                                       Work on revisions to Order; multiple telephone calls with client, SSG, FAAM re: budget, financing, order; meeting with C. Condon and E. Jeffery re:
         6/27/2023 HBM        3.3 B230       $2,425.50 final review and revisions
         6/27/2023 LAO        0.9 B230         $292.50 Work on DIP/carve-out issues
         6/27/2023 LAO        0.7 B230         $227.50 Meeting with HBM, DEJ & AGL re DIP default
                                                       Continue to research re: default issues, email to John Kuzenevich for additional information; t/c with John Kuzenevich to discuss additional
         6/27/2023 KRC        0.5 B230         $312.50 questions
         6/27/2023 KRC        0.4 B230         $250.00 Conference call with John Kuzinevich, Laura Britton, Leah O'Farrell re: default issues
         6/27/2023 DEJ        0.5 B230         $325.00 Review e-mail from HBM re: DIP issues; conference with LAO re: same
         6/27/2023 DEJ        1.1 B230         $715.00 Review Final DIP order; review draft supplemental DIP order
         6/27/2023 DEJ        0.9 B230         $585.00 Conferences with HBM re: DIP issues, case status, options, etc.
         6/27/2023 DEJ        0.7 B230         $455.00 Review and revise supplemental DIP order
         6/27/2023 CMC        0.5 B230         $292.50 Work on exhibits re DIP Amendment/budget issues
         6/27/2023 CMC          1 B230         $585.00 Multiple calls with client re DIP and go forward



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                                                                        Murphy & King, Professional Corporation
                                                                Detailed Statement of Fees Incurred, by Project Category
                                                                          For the Period from 5/5/23 - 6/30/23
                                                    Billed
Matter            Date     Employee Hours Task Code Amount       Narrative
                  6/27/2023 CMC        0.4 B230         $234.00 Review budget with client
                  6/27/2023 CMC        1.9 B230       $1,111.50 Review DIP order; amend/revise proposed supplement to DIP Order
                  6/27/2023 CMC        0.7 B230         $409.50 Further revisions to DIP Order
                  6/27/2023 CMC        1.2 B230         $702.00 Amend/revise DIP supplement; emails/meetings re same
                  6/28/2023 LAO        1.1 B230         $357.50 Telephone conferences with Debtor team; follow up with Evelyn
                  6/28/2023 LAO        0.7 B230         $227.50 Call with Committee; follow up Debtor team
                                                                Review Committee revisions to financing order; conference with HBM re: same; comparison of versions; participate in conference call with
                  6/28/2023 AGL        1.3 B230         $845.00 Committee re: same
                  6/28/2023 HBM        0.3 B230         $220.50 Review landlord objection re: stub rent; motion by Patio for admin claim; email re: same
                  6/28/2023 HBM        1.8 B230       $1,323.00 Begin hearing prep/witness/docs
                  6/28/2023 HBM          3 B230       $2,205.00 Conference with CMC re: hearing on default issue; future hearing prep
                  6/28/2023 HBM        0.7 B230         $514.50 Call with co-counsel, CMC, LAO re: budget DIP issues
                  6/28/2023 HBM        1.5 B230       $1,102.50 Telephone conference with SSG, FAAN, DIP co-counsel, CMC re: process stats, budget, DIP; follow up email
                  6/28/2023 CMC        1.1 B230         $643.50 Further review/revisions to amended DIP
                  6/28/2023 CMC        0.9 B230         $526.50 Calls with FAAN and client re budget
                  6/28/2023 CMC        0.7 B230         $409.50 Amend/revise DIP papers
                  6/28/2023 CMC        0.7 B230         $409.50 Follow up calls re next steps and budget
                  6/29/2023 HBM        3.7 B230       $2,719.50 Work on Order, Budget; email to client re: same; emails to FAAM re: same; telephone call with FAAM re: budget and issues re: same
                  6/29/2023 HBM        1.4 B230       $1,029.00 Review latest revisions to Order; participate in conference call with all counsel re: Order and today's hearing

                  6/29/2023 HBM        3.5 B230       $2,572.50 Prepare for and attend Hearing on DIP Order; telephone call with client before and after hearing; telephone call with counsel and client re: same
                  6/29/2023 LAO        2.8 B230         $910.00 Edits to Supplemental DIP order, call with FAAN, call with co-counsel, budget & fees
                  6/29/2023 LAO        1.8 B230         $585.00 Emails re: supplemental DIP order, utility objection; working on utility objection
                  6/29/2023 LAO        2.6 B230         $845.00 Reviewing DIP order; prepare for hearing; attend hearing on supplemental DIP order
                  6/29/2023 CMC        1.1 B230         $643.50 Prepare for and participate in call with client re revised budget
                  6/29/2023 CMC        0.7 B230         $409.50 Prepare exhibits for trial
                  6/29/2023 CMC        1.3 B230         $760.50 Prepare for and participate in call with DIP Lenders re hearing and revised DIP Order
                  6/29/2023 CMC        1.2 B230         $702.00 Revise DIP papers; prepare DIP funding analysis
                  6/29/2023 CMC        2.3 B230       $1,345.50 Prepare for and participate in hearing re DIP motion
                  6/30/2023 CMC        1.2 B230         $702.00 Prepare for and participate in call with FAAN re wind-down budget
Total:                               157.7           $98,139.00

Claims and Plan
                  5/10/2023 CRB        0.6 B300         $441.00 Conference to consider Plan structure, issues and related engagement of Investment Banker
                                                                Consider relevant sections of UCC and Bankruptcy Code in connection with responding to vendor order stopping goods in transit; and demand
                  5/10/2023 CRB        1.3 B300         $955.50 letter to vendor
                  5/10/2023 CRB        0.8 B300         $588.00 Review Pathlight Modification; and email re maturity date
                  5/10/2023 HBM        0.7 B300         $514.50 Telephone call with client re: Plan issues and strategy; conference with C. Bennett re: Pathlight
                  5/10/2023 CMC        0.7 B300         $409.50 Research re claim issues; outline plan
                  5/10/2023 WRM        1.8 B300       $1,170.00 Telephone call with HBM, CMC, client and other professional re: plan and follow up with HBM on plan structure and provisions
                  5/11/2023 CRB        0.9 B300         $661.50 Review and consider issues relating to the treatment of secured creditors in a Plan
                  5/11/2023 CMC        3.1 B300       $1,813.50 Work on plan; research re-instatement; conference with client re same
                  5/12/2023 CRB        1.6 B300       $1,176.00 Conference to consider Plan structure, landlord issue in connection with assumption/rejection of lease and 503(b) priority vendor claim
                  5/12/2023 HBM        2.3 B300       $1,690.50 Multiple telephone calls and emails with client re: Pathlight issues, etc.
                  5/12/2023 HBM        3.8 B300       $2,793.00 Work on Plan Development, preliminary rents of research; meeting with team re: structure and issues re: same
                  5/15/2023 CRB        0.9 B300         $661.50 Review key portions of the loan documents a intercreditor agreements in connection with Plan structure and options
                  5/15/2023 CMC        1.5 B300         $877.50 Review BBBy documents re: plan; conference re: plan structure
                  5/15/2023 CMC        0.9 B300         $526.50 Review issues re gift card program and potential claims
                  5/16/2023 LAO        3.3 B300       $1,072.50 Reviewing misc. secured claims to determine plan treatment



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                                                                                       Murphy & King, Professional Corporation
                                                                               Detailed Statement of Fees Incurred, by Project Category
                                                                                         For the Period from 5/5/23 - 6/30/23
                                                                   Billed
Matter                          Date      Employee Hours Task Code Amount       Narrative
                                5/16/2023 CMC         0.9 B300         $526.50 Prepare for and participate in call with client re plan issues
                                5/16/2023 CMC         0.7 B300         $409.50 Review disclosure issues with client re IP valuation
                                5/16/2023 CMC         0.8 B300         $468.00 Review Huntington documents
                                5/17/2023 LAO         1.5 B300         $487.50 Reviewing misc. secured claims to determine plan treatment; meeting with HBM re: same
                                5/17/2023 WRM         2.9 B300       $1,885.00 Review CMC organizational chart re: claims
                                5/18/2023 AGL         0.2 B300         $130.00 Confer with C Bennett re intercreditor agreement
                                                                               Complete review of Intercreditor Agreement between Eclipse and Pathlight; complete summary of relevant provisions; draft proposed provisions
                                5/18/2023 CRB         3.1 B300       $2,278.50 for Intercreditor; and draft summary for inclusion in Plan treatment of Pathlight
                                5/19/2023 CMC         1.5 B300         $877.50 Call with client re Plan; further revisions to same
                                                                               Revise plan, including definitions, classes, treatment of claims, exculpation and release provisions; review plan structure to coordinate language
                                5/20/2023 WRM         6.1 B300       $3,965.00 and email to HBM, CMC, and LAO
                                5/22/2023 HBM         0.5 B300         $367.50 Review loan and lease documents; conference with L. O'Farrell re: same; email to client re: same
                                5/22/2023 CMC         1.2 B300         $702.00 Prepare for and participate in call with client re plan/liquidation/projections
                                5/22/2023 CMC         0.7 B300         $409.50 Call with financial advisor re liquidation analysis
                                5/23/2023 HBM         1.2 B300         $882.00 Telephone call with client re: disclosure statement and liquidation analysis; email re: same
                                5/24/2023 CRB         0.2 B300         $147.00 Draft insert re potential objection to Pathlight claim for inclusion in disclosure statement
                                5/24/2023 CMC         1.9 B300       $1,111.50 Call re: liquidation analysis and IP issues
                                5/24/2023 CMC         1.5 B300         $877.50 Review filed liens; update plan re same
                                 6/1/2023 CMC         1.7 B300         $994.50 Work on Disclosure Statement
                                 6/7/2023 CMC           2 B300       $1,170.00 Work on liquidation analysis
Total:                                               52.8           $33,040.00

Claim Administration and Objections
                                  5/10/2023 KRC       0.4 B310         $250.00 Brief review of law on 365(h) re: sublease of BBB
                                  5/10/2023 HBM       1.3 B310         $955.50 Multiple emails and telephone calls re: creditors, vendors, landlords; several conferences with C. Condon re: same
                                  5/11/2023 HBM       0.3 B310         $220.50 Emails re: vendor issues
                                                                               Work on Plan documents and creditor treatment; conference with L. O'Farrell and C. Condon re: research on creditor plan issues; conference with
                                5/11/2023 HBM         3.5 B310       $2,572.50 C. Bennett and C. Condon re: same; review settlement case; telephone call with client re: same
                                5/12/2023 HBM         0.5 B310         $367.50 Review draft bar date motion; email re: same; telephone call with E. Meltzer re: same
                                5/15/2023 CMC         0.6 B310         $351.00 Review issues re customer program and potential claim
                                5/16/2023 HBM         1.3 B310         $955.50 Emails and telephone calls with Delaware counsel re: lien issues, defenses, etc.
                                5/16/2023 CMC         0.8 B310         $468.00 Review/revise bar date motion
                                5/17/2023 LAO         2.6 B310         $845.00 Call with Plan team; Closing schedules
                                5/19/2023 LAO         1.3 B310         $422.50 Discussing misc. secured/Huntington with HBM
                                 6/8/2023 CMC         0.5 B310         $292.50 Work on issues re RIBA claim; memo to client re same
                                6/13/2023 HBM         0.4 B310         $294.00 Review issues re: Crown; email re: same
                                6/16/2023 HBM         0.7 B310         $514.50 Extended telephone call from attorney for Crown re: equipment sale
                                6/23/2023 LAO         0.2 B310          $65.00 Reviewing admin claim motion
                                6/23/2023 CMC         0.9 B310         $526.50 Prepare for and participate in call re: BBBy issues and claim
                                6/30/2023 LAO           2 B310         $650.00 Drafting opposition to motion for admin claim
                                6/30/2023 CMC         1.1 B310         $643.50 Draft objection to motion for administrative expense
Total:                                               18.4           $10,394.00

Plan and Disclosure Statement
                                5/10/2023 HBM           3 B320       $2,205.00 Work on outline of Plan issues; extended telephone call with client and Banker re: same; conference with B. Moorman re: same
                                5/11/2023 HBM           1 B320         $735.00 Meeting with team re: Plan strategy and issues
                                5/11/2023 DEJ         0.8 B320         $520.00 Conference with Harry Murphy re: plan issues, options and strategy
                                5/11/2023 WRM           1 B320         $650.00 Conference re: plan issues and strategy




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                                                               Murphy & King, Professional Corporation
                                                       Detailed Statement of Fees Incurred, by Project Category
                                                                 For the Period from 5/5/23 - 6/30/23
                                           Billed
Matter   Date     Employee Hours Task Code Amount      Narrative
         5/12/2023 CRB        0.8 B320         $588.00 Conference to consider Plan issues and structure
                                                       Outline relevant and material terms of the intercreditor document between Eclipse and Pathlight and Pathlight and BBBY, and the settlement
         5/12/2023 CRB        2.8 B320       $2,058.00 guaranty document between CTS and BBBY
         5/12/2023 LAO        3.9 B320       $1,267.50 Work on plan and disclosure statement
         5/12/2023 LAO        0.8 B320         $260.00 Conference with CRB, WRM, and HBM re: plan
         5/12/2023 WRM        0.7 B320         $455.00 Conference re: plan issues and strategy
         5/15/2023 WRM        4.2 B320       $2,730.00 Work on initial plan draft and outline various issues and draft language
                                                       Work on Plan and Disclosure Statement; issues re: executory contracts, plan funding, etc.; conference with L. O'Farrell and C. Condon re: disclosure
         5/16/2023 HBM        2.7 B320       $1,984.50 statement issues, outline issues for call with client
         5/16/2023 HBM          1 B320         $735.00 Extended telephone call with client re: Plan and Disclosure Statement issues
         5/16/2023 LAO        1.9 B320         $617.50 Telephone conference with plan team; drafting plan; reviewing bar date motion
         5/16/2023 LAO          1 B320         $325.00 Disclosure Statement Call
         5/16/2023 CMC        2.1 B320       $1,228.50 Draft/revise disclosure statement
         5/16/2023 WRM        3.4 B320       $2,210.00 Work on draft plan
         5/17/2023 AGL        0.3 B320         $195.00 Review creditors' trust issues. Confer with C Condon re same.
         5/17/2023 HBM        6.8 B320       $4,998.00 Work on Plan; review and revise first draft; conference with team re: issues and revisions re: same
         5/17/2023 LAO        3.2 B320       $1,040.00 Drafting Plan language regarding leases
         5/17/2023 CMC        2.2 B320       $1,287.00 Draft/revise disclosure statement; confer with client re same
         5/17/2023 CMC        1.5 B320         $877.50 Work on plan of reorganization
         5/17/2023 CMC          1 B320         $585.00 Further work on plan
                                                       Intercreditor memorandum, first day affidavit, store closing motion, and related documents and pleadings for plan drafting and drafted plan of
         5/17/2023 WRM        5.7 B320       $3,705.00 reorganization
         5/18/2023 AGL        0.3 B320         $195.00 Conference with H Murphy re disbursing agent and funding issues, plan provisions.
         5/18/2023 HBM        7.5 B320       $5,512.50 Work on Plan and Disclosure Statement; multiple conferences with team re: same
         5/18/2023 LAO        5.2 B320       $1,690.00 Working on plan & disclosure statement
         5/18/2023 CMC        2.5 B320       $1,462.50 Draft/revise disclosure statement
         5/18/2023 CMC        1.8 B320       $1,053.00 Review debt documents; work on plan and disclosure statements
         5/18/2023 CMC          1 B320         $585.00 Draft/revise plan
         5/18/2023 WRM        1.8 B320       $1,170.00 Review creditor trust language and email CMC and LAO re: telephone conference
         5/18/2023 WRM        0.9 B320         $585.00 Review various release and exculpatory provisions in other plans and email assistant
         5/18/2023 WRM        2.8 B320       $1,820.00 Draft creditor trust language and definitions, email group
         5/19/2023 HBM        5.8 B320       $4,263.00 Work on Plan and Disclosure Statement; review draft projections; conference with client re: same
         5/19/2023 LAO          2 B320         $650.00 Plan meeting with team; disclosure statement meeting with team
         5/19/2023 LAO        3.5 B320       $1,137.50 Working on plan & disclosure statement
         5/19/2023 CMC        1.8 B320       $1,053.00 Draft/revise plan
         5/19/2023 CMC        1.6 B320         $936.00 Draft/revise Plan
         5/19/2023 CMC          2 B320       $1,170.00 Work on disclosure statement
         5/19/2023 WRM        4.6 B320       $2,990.00 Redraft various plan provisions and email CMC; email HBM, CMC, and LAO
         5/19/2023 HBM        1.2 B320         $882.00 Meeting with C. Condon and L. O'Farrell re: revisions to Plan and Disclosure Statement
         5/19/2023 WRM        0.8 B320         $520.00 Group telephone conference to review plan
         5/20/2023 HBM          5 B320       $3,675.00 Work on Plan and Disclosure Statement; review and revise latest draft; multiple conferences with team re: same
         5/20/2023 LAO        3.2 B320       $1,040.00 Working on plan and disclosure statement
         5/20/2023 CMC        3.6 B320       $2,106.00 Draft/revise Plan; conference with H. Murphy re same
         5/20/2023 CMC        1.5 B320         $877.50 Further work on Plan
         5/20/2023 CMC          1 B320         $585.00 Draft/revise Disclosure Statement
         5/21/2023 HBM        1.7 B320       $1,249.50 Review and revise latest draft of Plan; email re: same
         5/22/2023 HBM        1.2 B320         $882.00 Meeting with C. Condon re: Plan, revisions, issues, etc.
         5/22/2023 HBM        1.5 B320       $1,102.50 Final review and revisions to draft Plan; conference with C. Condon re: same; circulate to client and local counsel
         5/22/2023 LAO        2.5 B320         $812.50 Working on and implementing disclosure statement edits



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                                                               Murphy & King, Professional Corporation
                                                       Detailed Statement of Fees Incurred, by Project Category
                                                                 For the Period from 5/5/23 - 6/30/23
                                           Billed
Matter   Date     Employee Hours Task Code Amount      Narrative
         5/22/2023 CMC        2.9 B320       $1,696.50 Draft/revise Disclosure Statement
         5/22/2023 CMC        1.2 B320         $702.00 Further work drafting Plan
         5/22/2023 CMC        1.6 B320         $936.00 Review/revise disclosure statement
         5/22/2023 WRM        0.3 B320         $195.00 Follow up on plan status
         5/23/2023 CMC        3.1 B320       $1,813.50 Draft/revise Disclosure Statement
         5/23/2023 CMC        1.2 B320         $702.00 Prepare for and participate in call with client re plan issues
         5/23/2023 CMC        1.1 B320         $643.50 Further work on plan
         5/23/2023 CMC        1.6 B320         $936.00 Review/revise disclosure statement
         5/24/2023 HBM        2.4 B320       $1,764.00 Review and revise draft of Disclosure Statement; conference with C. Condon re: revisions and additions
         5/24/2023 HBM        2.5 B320       $1,837.50 Deal with various landlords re: stub rent; telephone call with E. Meltzer re: same; telephone call with J. Wolf re: same
         5/24/2023 CMC          2 B320       $1,170.00 Draft/revise Disclosure Statement
         5/25/2023 HBM        2.3 B320       $1,690.50 Review and revise additions to latest draft of Disclosure Statement; conference with C. Condon re: same; email to client re: same
         5/25/2023 CMC        2.3 B320       $1,345.50 Draft/revise plan
         5/25/2023 CMC        2.9 B320       $1,696.50 Draft/revise Disclosure Statement
         5/26/2023 CMC        1.6 B320         $936.00 Work on release issues re plan
         5/26/2023 CMC        2.3 B320       $1,345.50 Work on disclosure statement procedures motion
         5/27/2023 CMC        1.2 B320         $702.00 Draft/revise plan and disclosure statement
         5/29/2023 CMC        1.5 B320         $877.50 Draft/revise plan and disclosure statement
         5/29/2023 CMC        1.2 B320         $702.00 Further work on plan and disclosure statement
         5/30/2023 LAO        1.5 B320         $487.50 Drafting disclosure statement motion
         5/30/2023 CMC        2.5 B320       $1,462.50 Draft/revise plan and disclosure statement; work on changes to same
         5/30/2023 CMC        1.2 B320         $702.00 Further revisions to Plan and Disclosure Statement
         5/30/2023 CRB        0.6 B320         $441.00 Attendance at the deposition of M. Salkowitz
         5/31/2023 LAO        3.9 B320       $1,267.50 Drafting Disclosure Motion
         5/31/2023 CMC        1.3 B320         $760.50 Review/revise disclosure statement/plan
         5/31/2023 HBM          3 B320       $2,205.00 Review and revise latest draft of Plan and Disclosure Statement; conference with C. Condon re: same
         5/31/2023 CMC        1.3 B320         $760.50 Further revisions to plan and disclosure statement
         5/31/2023 CMC        1.5 B320         $877.50 Draft/revise plan
         5/31/2023 CMC          1 B320         $585.00 Revisions to plan and disclosure statement
          6/1/2023 CRB        0.3 B320         $220.50 Consider Pathlight treatment under Plan and treatment of the DIP settlement with the Creditors' Committee
          6/1/2023 LAO          1 B320         $325.00 Working on Plan and Disclosure Statement
          6/1/2023 LAO        0.7 B320         $227.50 Meeting with HBM, CMC & CRB re: Plan
          6/1/2023 LAO        3.5 B320       $1,137.50 Working on Disclosure Motion, Notices, Ballots
          6/1/2023 HBM        0.7 B320         $514.50 Review draft projections cash flow, etc.; telephone call with M. Kaufman re: same
          6/1/2023 HBM          5 B320       $3,675.00 Work on finalizing Plan, Disclosure Statement, changes as a result of DIP; multiple conferences with team re: same
          6/1/2023 CMC        1.5 B320         $877.50 Work on Plan
          6/1/2023 HBM        2.5 B320       $1,837.50 Multiple conferences with client and email re: plan
          6/2/2023 LAO        0.7 B320         $227.50 Reviewing comments to disclosure motion; reviewing motions on for hearing June 15
          6/5/2023 LAO        1.7 B320         $552.50 Misc. motion etc; implementing edits to disclosure motion; reviewing open requests
          6/5/2023 LAO        3.4 B320       $1,105.00 Working on plan edits re: DIP lender contracts
          6/5/2023 HBM          3 B320       $2,205.00 Consider DIP lender's comments to Plan and Disclosure Statement; two conferences with L. O'Farrell re: several issues to be addressed
                                                       Review revised plan to reflect changes and comments for DIP pleadings; conference with C. Condon and L. O'Farrell re: same and issues re: changes
          6/6/2023 HBM        1.5 B320       $1,102.50 to Disclosure Statement
          6/6/2023 LAO        2.6 B320         $845.00 Implementing plan edits; meeting with CTS team re: plan updates
          6/6/2023 LAO          3 B320         $975.00 Working on Disclosure Motion edits
          6/6/2023 CMC        2.2 B320       $1,287.00 Draft/revise Plan of reorganization re lender issues
          6/6/2023 CMC        0.9 B320         $526.50 Calls re Plan
          6/6/2023 CMC        0.6 B320         $351.00 Review DIP Order re Plan
          6/6/2023 CMC        1.9 B320       $1,111.50 Work on solicitation procedures re Plan



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                                                               Murphy & King, Professional Corporation
                                                       Detailed Statement of Fees Incurred, by Project Category
                                                                 For the Period from 5/5/23 - 6/30/23
                                           Billed
Matter   Date     Employee Hours Task Code Amount       Narrative
          6/6/2023 CMC        0.8 B320         $468.00 Finalize draft Plan
          6/6/2023 CMC        0.7 B320         $409.50 Work on Disclosure Statement
          6/7/2023 MJT        1.7 B320         $408.00 Draft edits to exhibits to Plan of Reorganization
                                                       Work on finalizing Disclosure Statement/Solicitation Motion; telephone call with M. Kaufman; review various comments for DIP lenders, creditors
                                                       committee; emails to and from Delaware counsel re: same; multiple conferences with C. Condon and L. O'Farrell re: same; several telephone calls
          6/7/2023 HBM        5.5 B320       $4,042.50 with DIP lenders re: same
          6/7/2023 CMC        1.7 B320         $994.50 Draft/revise plan and disclosure statement
          6/7/2023 CMC        2.4 B320       $1,404.00 Draft/revise procedures motion
          6/7/2023 CMC        0.7 B320         $409.50 Finalize draft Plan
          6/7/2023 CMC        2.1 B320       $1,228.50 Draft/revise procedures motion/order/ballots/other exhibits
          6/7/2023 CMC          1 B320         $585.00 Finalize Plan; review documents re: same
          6/8/2023 HBM        0.3 B320         $220.50 Review orders re: shorten notice/hearing notice on Disclosure Statement; emails re: same
         6/12/2023 CMC        0.7 B320         $409.50 Review issues re Plan
         6/14/2023 CMC        1.3 B320         $760.50 Draft/revise Plan re UST issues
         6/16/2023 CMC        0.9 B320         $526.50 Calls with H. Murphy and client re: Plan issues
         6/19/2023 CMC        1.9 B320       $1,111.50 Review loan documents and fee letters re issues on make-whole; calls with client re same
         6/20/2023 CMC        0.7 B320         $409.50 Calls with client re Plan issues
         6/20/2023 CMC        0.9 B320         $526.50 Work on Plan and Disclosure Statement issues; calls with client
         6/20/2023 CMC          1 B320         $585.00 Work on revised Disclosure Statement re: UST issues
         6/21/2023 CMC        0.9 B320         $526.50 Calls re Plan and Disclosure Statement
Total:                       235           $136,630.50




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